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                                                    UNITED STATES DISTRICT COURT
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                                                         DISTRICT OF NEVADA
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                                                                     2:09-CR-262 JCM (RJJ)
                  8     UNITED STATES OF AMERICA,

                  9                    Plaintiff,
                10      v.
                11
                        ALFONSO RIVERA-AVALOS, et al.,
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                                       Defendants.
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                14                                                ORDER
                15           Presently before the court are Alfonso Rivera-Avalos’ motion for leave to file a
                16    memorandum of law (doc. #226) and motion to vacate sentence pursuant to 28 U.S.C. § 2255 (doc.
                17    #227). Rivera’s pro se motion asserts a claim of ineffective assistance of counsel.
                18           Good cause appearing,
                19           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Rivera’s motion for leave
                20    to file a memorandum of law (doc. #226) be, and the same hereby is, GRANTED.
                21           IT IS FURTHER ORDERED that Rivera file a memorandum of law by December 10, 2011.
                22           IT IS FURTHER ORDERED that the United States file an opposition or otherwise respond
                23    to Rivera’s § 2255 motion by January 10, 2012. Rivera shall file a reply by February 10, 2012.
                24           DATED November 16, 2011.
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                                                           UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
